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 1   Chris Arabia, Esq.
     Nevada Bar No. 9749
 2
     Law Offices of Chris Arabia, PC
 3   601 S. 10th St., Suite 107
     Las Vegas, NV 89101
 4   702.701.4391
     Attorney for Defendant
 5
     Kelly Coyan
 6

 7                                 UNITED STATES DISTRICT COURT

 8                                       DISTRICT OF NEVADA
 9
                                                    ***
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11   UNITED STATES OF AMERICA,                          CASE No. 2:15-cr-00127-RFB

12                                                      STIPULATION TO
                            Plaintiff,                  CONTINUE SENTENCING
     vs.
13
                                                        (First Request)
14   KELLY COYAN,

15                          Defendant.
16

17          IT IS HEREBY STIPULATED AND AGREED, by and between Dayle Elieson, United
18   States Attorney, and Kathryn Newman, Assistant United States Attorney, counsel for the United
19
     States of America, and Chris Arabia, counsel for Defendant Kelly Coyan, that the sentencing
20
     hearing for the above-captioned matter, currently scheduled for February 22, 2018, be vacated
21

22   and continued for at least sixty (60) days. This stipulation is entered for the following reasons:

23          1. Counsel for the defendant and government counsel need additional time to complete
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     preparations to be in position to proceed to the sentencing hearing.
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            2. The defendant is out of custody does not object to the continuance.
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            3. The parties agree to the continuance.
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 1          4. The additional time requested herein is not sought for purposes of delay, but merely to
 2
     allow counsel for defendant sufficient time within which to be able to complete his mitigation
 3
     for sentencing purposes. This is the first request to continue sentencing date filed herein.
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 5
            DATED: January 17, 2018.

 6          /s/ Chris Arabia                                       /s/ Kathryn Newman
            Counsel for Defendant Bass                             Assistant United States Attorney
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                               UNITED STATES DISTRICT COURT
 7
                                       DISTRICT OF NEVADA
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     UNITED STATES OF AMERICA,                   )
10                                               ) Case No. 2:15-CR-00127-RFB-GWF
                                                 )
11                       Plaintiff,              )
     vs.                                         ) ORDER TO CONTINUE
12                                               ) SENTENCING HEARING
     KELLY COYAN,                                )
13                                               )
                                                 )
14                      Defendant.               )
                                                 )
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16         Based on the pending Stipulation of counsel, and good cause appearing therefore, IT IS
17   HEREBY ORDERED, that the sentencing hearing in the above-captioned matter, currently
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                                                                       3rd
     scheduled for February 22, 2018, be vacated and continued to the ________ day of
19
          May
     ________________                  3:00 p
                      at the hour of ________.m.
20
            DATED: January 18, 2018.
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22                                      ________________________________________
                                        RICHARD F. BOULWARE, II
23
                                        UNITED STATES DISTRICT JUDGE
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